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CHARLOTTE, NG

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

UNITED STATES DISTRICT COURT WESTERN DISTRICT OE NC

for the

WESTPPAY District of NUETY CAROLS
CHUTE Division

Case No. Bey -cv- ST MR
(to be filled in by the Clerk’s Office)

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Plaintiffs)

(Write the full name of each plaintiff who is filing this complaint.

If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-jy-

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Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name one c Vi.
All other names by which
you have been known: Ora OD Coan a m & nck aN
ID Number "ESD 2 2 3
Current Institution N oro Aecwe Goon Sher Le ve
Address 700 bas {Socks St
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City State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (ifown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name Cac Ls Ae Foden
Job or Title (if known) Sher we
Shield Number .
Employer NEM ENRIRG chs Sure Ss DICE Oh (RED }
Address 100 COs Yoorkn Sk. °
C near NOX SOL
Ca “Slate

[_] Individual capacity || Official capacity

Defendant No. 2

Name ? Sane NS &
Job or Title (if known) Lael Second. Woe Luh ach en
Shield Number ~
Employer ww LO
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/ City Sate Zip Code

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Case 3:24-cv-01057-MR Document1 Filed 12/06/24 Page2of12 ""?%""
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Defendant No. 3

Name O, Cow's oN
Job or Title (ifknown) KA SoA \ake ocr nie Ser Qe ens
Shield Number ~
Employer WESO
Address TO & ast Your Wn S‘.
One \nrce WC 26200.
4 City Sate Zip Code

Eri Individual capacity [Jo Official capacity

Defendant No. 4

Name \hee Se
Job or Title (if known) Kader ni aire wv & Cao CA,
Shield Number
Employer AAC Sb
Address T0  Eaak Turin ok
Qhhac Cokes . Sc . Q3n02.
City State Zip Code

fu THndividual capacity [fo =} Official capacity

II. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A. Are you bringing suit against (check all that apply):

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. Tf you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officials?

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D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

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Ii. Prisoner Status

Indijedte whether you are a prisoner or other confined person as follows (check all that apply):

Pretrial detainee
[| Civilly committed detainee
[ | Immigration detainee
[| Convicted and sentenced state prisoner

[] Convicted and sentenced federal prisoner

[ ] Other (explain)

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Ifthe events giving rise to your claim arose outside an institution, describe where and when they arose.

B. [f the events giving rise to your claim arose in an institution, describe < and when they arose.

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C. What date and approximate time did the events giving rise to your claim(s) occur?
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What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else me ? Who else saw what happened?)

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If you sustained injuries related to the events alleged above, describe your injuries and state what medical

treatment, if any, you required and did or did not, receive. C) fa =a Vre
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Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VIL

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did youf claim(s) arise while you were confined in a jail, prison, or other correctional facility?
Yes

[| No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

ae eh ake SS. C. NESBA

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance

[| No

[] Do not know

C. Does the Aevance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover séme or all of your claims?

Yes

[ | No
[ ] Do not know

If yes, which claim(s)?

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A.

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[ ly,

No

If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (if there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (iffederal court, name the district; if state court, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

[ | Yes
[ | No

If no, give the approximate date of disposition.

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

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IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation;

(2) is supported by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A. For Parties Without an Attorney
T agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.
Date of signing: 47 wy eam 2c AOE
Signature of Plaintiff Sy iss food .
Printed Name of Plaintiff wade PDO
Prison Identification # xe lo 204
Prison Address On ox 24494
Checlotke. WiC BoP
City State Zip Code ‘
B. For Attorneys
Date of signing:
Signature of Attorney
Printed Name of Attorney
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Name of Law Firm
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